                                               United States Bankruptcy Court
                                               Northern District of Alabama
In re:                                                                                                     Case No. 17-40874-JJR
Timothy S Davidson                                                                                         Chapter 7
Hailey R Davidson
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 1126-1                  User: sgibson                      Page 1 of 2                          Date Rcvd: Apr 05, 2018
                                      Form ID: pdfall                    Total Noticed: 32


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 07, 2018.
db/jdb         +Timothy S Davidson,    Hailey R Davidson,     2018 Old Downey Mill Road,    Anniston, AL 36207-1178
cr             +ALABAMA POWER COMPANY,    C/O ERIC RAY,     P O BOX 306,    BIRMINGHAM, AL 35201-0306
cr             +Family Savings Credit Union,     342 Charles Hardy Pkwy,     Hiram, GA 30141-1848
9363029        +Bca Financial Services,     18001 Old Cutler Rd Ste,     Palmetto Bay, FL 33157-6437
9363032        +CITIBANK,    PO BOX 6500,    Sioux Falls, SD 57117-6500
9363030        +Cbna,   Po Box 6497,    Sioux Falls, SD 57117-6497
9363031         Cci,   Contract Callers Inc. Cci,     Augusta, GA 30901
9363035        +Dept Of Edu/osla Servi,     525 Central Park Dr Ste,     Oklahoma City, OK 73105-1723
9363026        +FAMILY SAVINGS,    711 E MEIGAHAN BLVD,     Gadsden, AL 35903-1996
9363025        +FAMILY SAVINGS,    PO BOX 790408,    Saint Louis, MO 63179-0408
9363037        +Flr Solution,    Po Box 94498,    Las Vegas, NV 89193-4498
9363039        +Kids Propt Care,    4106 Columbia Rd,     Augusta, GA 30907-1450
9363041        +MAURICES,    PO BOX 182789,    Columbus, OH 43218-2789
9363044         Rercantile,    164 Lawerence Bell Dr,     Suite 100,   Buffalo, NY 14221
9363045        +Revenue Recovery,    PO BOX 105537,     Atlanta, GA 30348-5537
9363028         STATE OF ALABAMA DEPARTMENT OF REVENUE,      GORDON PERSONS BLD,    50 NORTH RIPLEY STREET,
                 Montgomery, AL 36104
9363046        +Southern Family Medical Center,     PO Box 14000,    Belfast, ME 04915-4033
9363047        +Td Bank Usa/targetcred,     Po Box 673,    Minneapolis, MN 55440-0673
9363048        +Thd/cbna,    Po Box 6497,    Sioux Falls, SD 57117-6497
9363049        +VICTORIA SECRET,    PO BOX 182789,    Columbus, OH 43218-2789
9363050        +WELLS FARGO,    PO BOX 202902,    Dallas, TX 75320-2902
9363051        +Woodknoll Duplexes,    335 Broad Street #a7,     Augusta, GA 30901-1539

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: bnc_notices_eastern@alnba.uscourts.gov Apr 06 2018 02:04:27       Robert Landry,
                 BA Anniston,    1129 Noble Street,   Room 117,    Anniston, AL 36201-4674
9363033        +E-mail/Text: flr_bankruptcynotice@cable.comcast.com Apr 06 2018 02:05:45       COMCAST,
                 241 S 3RD STREET,    Gadsden, AL 35901-4241
9363034        +E-mail/Text: CSIBKR@CREDITSYSTEMSINTL.COM Apr 06 2018 02:05:54       Credit Systems Intl In,
                 1277 Country Club Ln,    Fort Worth, TX 76112-2304
9363036        +E-mail/Text: mrdiscen@discover.com Apr 06 2018 02:02:48       Discover Fin Svcs Llc,
                 Po Box 15316,    Wilmington, DE 19850-5316
9517548         E-mail/Text: brnotices@dor.ga.gov Apr 06 2018 02:03:26       Georgia Department of Revenue,
                 PO Box 105499,    Atlanta, GA 30348-5499
9363038         E-mail/Text: JCAP_BNC_Notices@jcap.com Apr 06 2018 02:04:56       Jefferson Capital Syst,
                 16 Mcleland Rd,    Saint Cloud, MN 56303
9363040        +E-mail/Text: bnckohlsnotices@becket-lee.com Apr 06 2018 02:02:59       Kohls/capone,
                 Po Box 3115,    Milwaukee, WI 53201-3115
9363042        +E-mail/Text: helen.ledford@nrsagency.com Apr 06 2018 02:06:27       Nationwide Recovery Sv,
                 Po Box 8005,    Cleveland, TN 37320-8005
9363043        +E-mail/Text: newbk@Regions.com Apr 06 2018 02:04:52       Regions Bankcard,
                 2050 Parkway Office Cir,    Hoover, AL 35244-1805
9363027        +E-mail/Text: MARGIE.WILLIAMS@NC.USDA.GOV Apr 06 2018 02:04:01       USDA,
                 1400 Independence Ave SW,    Washington, DC 20250-0002
                                                                                              TOTAL: 10

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 07, 2018                                            Signature: /s/Joseph Speetjens




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                             Form ID: pdfall             Total Noticed: 32

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 5, 2018 at the address(es) listed below:
              Eric T Ray   on behalf of Creditor   ALABAMA POWER COMPANY eray@balch.com, bfreeman@balch.com
              Rocco J Leo   rleo@leoandoneal.com, rleo@ecf.epiqsystems.com;LeahFarlow@outlook.com
              Wendy Ghee Draper   on behalf of Debtor Timothy S Davidson gheeanddraper@gmail.com,
               claims.gheedraper@gmail.com;gheedraper@aol.com;mizt402@aim.com
              Wendy Ghee Draper   on behalf of Joint Debtor Hailey R Davidson gheeanddraper@gmail.com,
               claims.gheedraper@gmail.com;gheedraper@aol.com;mizt402@aim.com
                                                                                            TOTAL: 4




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                                                                                     17-40874-JJR7
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                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA - EASTERN DIVISION

  In the Matter of:
   Timothy S Davidson                     }     Case No: 17-40874-JJR7
   SSN: XXX-XX-6193                       }
   Hailey R Davidson                      }
   SSN: XXX-XX-5663                       }
      DEBTOR(S).                          }



                                        ORDER
This matter came before the Court on Thursday, April 05, 2018 10:30 AM, for a hearing on the
following:
     RE: Doc #37; Trustee's Motion to Reopen Case, Set Aside Trustee's Report of No
     Distribution and Re-Appoint Trustee
Proper notice of the hearing was given and appearances were made by the following:
     Rocco J Leo (Trustee)
     Wendy Ghee Draper, attorney for Hailey R Davidson (Joint Debtor)
     Wendy Ghee Draper, attorney for Timothy S Davidson (Debtor)
     Max C. Pope, Jr, for Rocco Leo


It is therefore ORDERED, ADJUDGED and DECREED that:

   For the reasons stated on the record, the Trustee's Motion to Reopen Case, Set Aside
   Trustee's Report of No Distribution and Re-Appoint Trustee is GRANTED.

Dated: 04/05/2018                                   /s/ JAMES J. ROBINSON
                                                    JAMES J. ROBINSON
                                                    Chief United States Bankruptcy Judge




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